Case 1:23-cv-00108-LMB-JFA Document 628-1 Filed 05/16/24 Page 1 of 1 PageID# 12024




                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                      ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                          Plaintiffs,

           vs.                                              No. 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                          Defendant.

                                         PROPOSED ORDER

         THIS MATTER is before the Court on Defendant Google LLC’s Motion to Dismiss the

  United States’ Damages Claim As Moot and to Strike the Jury Demand. Upon consideration of

  the motion, and arguments in support thereof and in opposition there, and it otherwise appearing

  proper to do so, it is hereby

         ORDERED that Defendant’s motion is GRANTED and that Plaintiff United States’ claim

  for damages (Count V of the First Amended Complaint) is DISMISSED; and it is further

         ORDERED that Plaintiffs’ jury demand is stricken.



                                    ENTERED this ____ day of June 2024.



     Alexandria, Virginia


                                                             Leonie M. Brinkema
                                                             United States District Judge
